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            EXHIBIT C
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 1                  12/17/2024 - MARK ZUCKERBERG

 2                  UNOFFICIAL DRAFT TRANSCRIPT

 3

 4      ** HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY **

 5

 6              This draft transcript is unedited and

 7    uncertified.     It may contain untranslated

 8    stenographic symbols, an occasional reporter's note,

 9    a misspelled proper name and/or nonsensical word

10    combinations.     These and any other errors will be

11    corrected in the final transcript.

12                      It contains raw output from the court

13    reporter's stenotype machine translated into English

14    by the court reporter's computer, without the

15    benefit of proofreading.    Since this transcript has

16    not been proofread, the court reporter cannot assume

17    responsibility for any errors therein.

18                      This draft transcript is intended to

19    assist attorneys in their case preparation and is

20    not to be construed as the final transcript.      It is

21    not to be duplicated or sold to other persons or

22    businesses.     It is not to be read by the witness or

23    quoted in any pleading, or for any other purpose,
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 4    raised to me or -- you know, I would assume that

 5    there probably were at other levels of the

 6    organization, but perhaps we were able to place the

 7    appropriate mitigations such that it never got

 8    escalated to me.

 9    BY ATTORNEY BOIES:

10            Q.   My only question was whether any issue

11    regarding the use of copyrighted materials in

12    connection with your AI models ever got escalated to

13    you.

14                 ATTORNEY GHAJAR:    Same objection.

15                 To the extent your answer would refer or

16    relate to privileged communications, I'd caution you

17    not to.

18                 THE WITNESS:    Sure.   And my answer's the

19    same, although I'll keep it shorter this time, that

20    I don't remember any specific conversations about

21    that.

22    BY ATTORNEY BOIES:

23            Q.   Do you remember any general conversations

24    about that?

25            A.   No, no.


                                                                28
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 1         Q.   You are familiar with a group of works

 2    referred to as "Library Genesis" or "LibGen";

 3    correct, sir?

 4         A.   No.

 5         Q.   You've never heard of LibGen?     Is that

 6    your testimony?

 7         A.   I don't think I had, no.

 8              I might have -- it might have come up

 9    during prep for the deposition with my lawyers, but

10    I don't think I'd heard of it before then.     And I'm

11    not sure that was an example that came up during

12    prep for this deposition; so I do not remember

13    having heard of that.

14         Q.   What about Books3?     Have you ever heard of

15    Books3?

16         A.   That, I think, came up in the deposition

17    prep, but I don't think I -- when it came up, I

18    don't recall having been aware of it before.

19         Q.   Have you ever -- other than in deposition

20    prep, have you ever been aware of Anna's Archives?

21         A.   No, I don't think so.

22         Q.   How about "z-lit" or "Z Literature"?

23         A.   No.

24         Q.   Have you ever heard of shadow libraries?

25         A.   No.     I don't think I've ever heard that
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                                                               29




 1    term before.

 2           Q.   Have you ever heard of torrents or torrent

 3    or torrenting?

 4           A.   Yes.

 5           Q.   What is your understanding of that?

 6           A.   Basically, people can -- torrent, I think

 7    it's basically an online protocol and system where

 8    people can upload files to a distributed network,

 9    and then other people can download them from the

10    network.

11           Q.   And has Meta ever used that protocol, that

12    torrent protocol, to acquire works used to train

13    Meta's AI models?

14                ATTORNEY GHAJAR:   Objection.    Lacks

15    foundation.    Calls for speculation.      Also vague.

16                THE WITNESS:   I'm not sure.

17    BY ATTORNEY BOIES:

18           Q.   Do you have any information about that at

19    all?

20                ATTORNEY GHAJAR:   Same objection.    Lacks

21    foundation.    Calls for speculation.      Also vague.
